Case: 3:18-cv-00177-WHR-MJN Doc #: 55-9 Filed: 07/19/19 Page: 1 of 2 PAGEID #: 426

 

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MICHELE kK. UF OR
SHELBY COUNTY Cite
IN THE COMMON PLEAS COURT OF SHELBY COUNTY, OHIO ni CL

STATE OF OHIO . CASENO. [3 GROV0O 2b

Plaintiff, *

VS.
Kou piney Lon Abe
Acceptance of Guilty Plea

*

JUDGMENT ENTRY

Defendant.

* * * * *

This matter came on tobe heardon jure, /S 20/3

C ,
The Defendant, Kavetney Lona berives present in Court with counsel

of record, icon P hatha

The Court finds that the Defendant has presented his/her "Petition to Enter a Plea of
Guilty," and his/her counsel of record has completed the "Certificate of Counsel" which are
ordered filed in this case.

The Court has orally advised the Defendant of the effects of his/her plea, that the
Court may proceed with judgment and sentence immediately, and has informed the
Defendant of the rights which he/she will waive by entering this plea. ,

The Court finds this plea(s) has been voluntarily made.

IT IS THE ORDER OF THIS COURT that the plea of Guilty to Revised Code

Subsection

Co R.C. Section NRL Degr
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boeie, (ne

 

 

 

 
Case: 3:18-cv-00177-WHR-MJN Doc #: 55-9 Filed: 07/19/19 Page: 2 of 2 PAGEID #: 427

be accepted and ordered filed with the Clerk. Upon the plea and statements presented,

the Court finds the Defendant Guilty.

This matter is referred to the Adult Probation Department for a pre-sentence
investigation and report.
we of this entry shall be delivered to the Defendant, Counsel for the State, and

the Couhs€l for the Defendant.

>y IT |S SO ORDERED.
| ' (| \\ 4 Ze

James F. Stevenson
Judge

  
  

 

 

Prosecuting Attorney

Willy sects

Assistant Prosecuting pre

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Counsel for Defendant _
Reg /No. 2E8
Addréss:

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